Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 1 of 179



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION
                                  CASE NO.: 9:17-CV-81330

   PATSY HARNISH AND
   JOHN HARNISH,

                 Plaintiff,
   -vs-

   OCWEN LOAN SERVICING, LLC,

               Defendant.
   __________________________/

                  VERIFIED COMPLAINT AND DEMAND FOR JURY TRIAL

          COMES NOW, the Plaintiff, PATSY HARNISH and JOHN HARNISH (“Plaintiffs”

   or “Harnishs”), by and through undersigned counsel, and brings this action against the

   Defendant, OCWEN LOAN SERVICING, LLC., (“Defendant” or “OCWEN”), and as

   grounds thereof would allege as follows:

                                         INTRODUCTION

          1.     This is an action brought by a consumer for Defendant’s violation of the Real

   Estate Settlement Procedures Act, 12 U.S.C. §§ 2601, et seq. (“RESPA”), and its implementing

   regulation and a violation of sections of Florida Consumer Collections Practices Act,

   (“FCCPA”), Florida Statute §559.72 and §559.77.

          2.     The Consumer Financial Protection Bureau (“CFPB”) is the primary regulatory

   agency authorized by Congress to supervise and enforce compliance of RESPA. The CFPB

   periodically issues and amends mortgage servicing rules under Regulation X, 12 C.F.R. § 1024,

   and § 1026, RESPA’s implementing regulation.




                                               -1–
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 2 of 179



           3.      Specifically, Plaintiffs seek the remedies provided in RESPA for Defendant’s

   failure to comply with Section 2605(k) of RESPA, and Section 1024.41 of Regulation X.

           4.      Plaintiffs seek both legal and equitable relief arising out of residential mortgage

   financing and subsequent mortgage foreclosure action as involving Plaintiffs’ residential

   property located in Mounds, Oklahoma (the “Property”) with regard to the Dodd-Frank Wall

   Street and Consumer Protection Act of 2011, the Truth in Lending Act 15 U.S.C. §§1601, et.

   seq., the Real Estate Settlement Procedures Act (“RESPA”), 12. U.S.C. §§ 2602, et. seq.

                                          JURISDICTION AND VENUE

           5.      Jurisdiction is proper in Palm Beach County because the matter arises under

   F.S.A. Chapter 34.01(c) and the amount in controversy is more than $10,000.00 exclusive of

   interest, costs and attorney’s fees.

           6.      Venue is proper because this is the County where the RESPA violation

   occurred.

           7.      The Defendant’s main office is based in West Palm Beach, Florida.

                                                 PARTIES

           8.      At all material times, Defendant, was and is a company which regularly engages

   in the business of servicing mortgages in Palm Beach County, Florida and has done substantial

   business in Florida.

           9.      At all times material hereto Defendant, was and is a loan servicer as the term is

   defined in 12 U.S.C. § 2605(i)(2) and 12 C.F.R. § 1024.2(b), that services the loan obligation

   which is secured by a mortgage on Plaintiffs’ property.

                BACKGROUND OF THE LOAN TRANSACTION AND RESPA VIOLATION




                                                   -2–
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 3 of 179



          10.      The Plaintiffs took out a home loan on May 24, 2004 to finance the purchase of

   their primary residential property located at 19510 Carriage Court, Mounds, OK 74047

   (“property”).

          11.      As part of the acquisition of the property, on May 24, 2004, Plaintiffs obtained a

   loan from the original lender, GreenPoint Mortgage Funding, Inc., with an original principal

   balance of $703,000.00 (“Loan”).

          12.      The Loan is a federally related mortgage loan as defined by 12 C.F.R. §1024.2(b).

          13.      On or around December 16, 2015, Bank of New York Mellon Trust Company,

   N.A. (“BNYM”) filed a foreclosure suit (Tulsa county case number: CJ-2015-4621) against the

   Harnishs regarding the property. Ocwen was the servicer for BNYM on this loan and prosecuted

   the foreclosure on behalf of BNYM.

          14.      On February 16, 2016, the borrowers submitted a complete application for the

   Home Affordable Foreclosure Alternative (HAFA) Deed-in-Lieu (“DIL”) program through their

   attorneys Home Defense Law Group, (“HDLG”).

          15.      Under the HAFA program, the borrowers would be eligible for up to $10,000.00

   in relocation help.

          16.      The HAFA requirements were as follows:

                        There is a documented hardship

                        The borrower has not purchased a new house within the last 12 months

                        The first mortgage is less than $729,750.00

                        The mortgage was obtained on or before January 1, 2009




                                                    -3–
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 4 of 179



                      The borrower must not have been convicted within the last 10 years of felony

                       larceny, theft, fraud, forgery, money laundering, or tax evasion in connection

                       with a mortgage or real estate transaction

                      The mortgage is owned or guaranteed by Fannie Mae and Freddie Mac

          17.      The Plaintiffs documented their hardship in the DIL application.

          18.      The Plaintiffs purchased the home in 2004, which is not within the last 12 months.

          19.      The first mortgage $703,000 which is less than $729,750.00.

          20.      The mortgage was obtained on May 4, 2004, which is before January 1, 2009.

          21.      The Plaintiffs were not convicted within the last 10 years of felony larceny, theft,

   fraud, forgery, money laundering, or tax evasion in connection with a mortgage or real estate

   transaction.

          22.      The mortgage was guaranteed by Fannie Mae and Freddie Mac.

          23.      Pursuant to C.F.R. § 1024.41 (b)(i)(B) Servicer must notify the borrower in

   writing within 5 days (excluding legal public holidays, Saturdays, and Sundays) after receiving

   the loss mitigation application that the servicer acknowledges receipt of the loss mitigation

   application and that the servicer has determined that the loss mitigation application is either

   complete or incomplete.

          24.       On February 24, 2016, 6 days after receipt of the DIL application, Ocwen sent

   the borrowers a letters acknowledging receipt of the Loss Mitigation Acceptance Form and

   notifying the borrowers that no further information or documents are required. The letter

   continued on to state that the “final approval will be conditioned upon receipt of the following

   from the necessary third parties:

               An independent valuation of the property that verifies that the purchase price is
                greater than or equal to the fair market value of the property.


                                                   -4–
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 5 of 179



            Verification that closing costs associated with tractions are reasonable and customary.
            If applicable, approval from the investor or mortgage insurer of your loan to proceed
             with the transaction.”
          See a copy of the letter attached hereto as Exhibit “A”.

          25.     The letter did not state that any title issues would be a condition of approval for

   the DIL.

          26.     On March 7, 2016, 14 days after receipt of the DIL application, Ocwen sent a

   letter confirming receipt of the Deed-in-Lieu Application. The letter has a bolded sentence that

   reads, “No further action is required of you[r]until we complete the review and respond

   accordingly. If anything further is required, we will contact you.” See a copy of the letter

   attached hereto as Exhibit “B”.

          27.     There was a second letter also dated March 7, 2016, 14 days after receipt of the

   DIL application, in which Ocwen requested additional documentation from the borrowers,

   specifically, the “latest copy of a utility bill with mailing address and service address or bank

   statement/paystub/credit card statement/award letter/benefits letter to prove that the property is

   owner occupied. Kindly provide a copy of W-9 Form with SS# and mailing address of the last 60

   days.” Shortly thereafter, the requested documents were forwarded to Ocwen’s attention. See a

   copy of the letter attached hereto as Exhibit “C”.

          28.     On March 16, 2016, 21 days after the DIL submission, Ocwen agent Aabid ID

   #108306 called HDLG to advise that Ocwen received the W-9 but not the utility bill as

   requested. It was explained to Ocwen’s agent that it was impossible as the W-9 and the utility

   bill was scanned as one single PDF and sent to Ocwen as a single document.

          29.     The agent continued on and requested verbally a letter of explanation regarding

   the reason for a different mailing address. He also added that as long as the title is cleared and

   the attorney conducts a deep title search then the closing will go forward. If the client is


                                                   -5–
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 6 of 179



   approved by HAFA, they will be eligible for up to $10,000.00 in relocation assistance. If it is an

   in-house deed-in lieu then they will be eligible for up to $3,000.00 in relocation assistance. Later

   that day, the letter of explanation regarding the mailing address and the property address was

   sent to Ocwen.

          30.       On April 1, 2016, 33 days after the DIL submission, HDLG called Ocwen to

   determine the status of the DIL. Sunil, Agent ID 105757 for Ocwen, concluded that they were

   waiting for the documents that were submitted to be validated. HDLG reminded Ocwen that the

   original package was submitted on February 16, 2016 and the final requested documents were

   sent on March 16, 2016.

          31.       On April 22, 2016, 48 days after the DIL submission, HDLG called Ocwen and

   spoke to Prerna ID #103505. The agent advised that there is still confusion regarding the

   property and mailing address. Later that day, a letter of explanation was resent to Ocwen.

          32.       On May 5, 2016, 57 days after the DIL submission, HDLG once again called

   Ocwen and spoke to Kishore Panwar Agent ID #103488 to follow up on the DIL application.

   The agent stated he would follow up with underwriting to review the account so it can be

   approved and move on to the next step. He requested that HDLG call back in two weeks.

          33.       On May 23, 2016, 69 days after the DIL submission, HDLG spoke to Panwar and

   found out that the HAFA DIL was denied but the Harnishs were still under review for an in

   house DIL. He suggested that HDLG call back in a few weeks to find out what underwriting

   decided.

          34.       On June 13, 2016, 83 days after the DIL submission, HDLG called Panwar to

   follow up on status of the DIL. Left a message requesting a call back.




                                                   -6–
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 7 of 179



           35.     On June 16, 2016, 86 days after the DIL submission, Panwar called HDLG and

   was unable to reach someone during that time. HDLG called later that same day and could not

   reach Panwar once again.

           36.     On June 22, 2016, 90 days after the DIL submission, HDLG called Panwar to

   follow up on status of the DIL. Left a message requesting a call back.

           37.     On June 26, 2016, 93 days after the DIL submission, HDLG called Panwar to

   follow up on status of the DIL. Left a message requesting a call back.

           38.     Pursuant to 12 C.F.R. § 1024.41 (c)(1)(ii) the servicer must provide to the

   borrower within 30 days of receiving the complete loss mitigation application a determination of

   which loss mitigation options, if any, it will offer to the borrower on behalf of the owner or

   assignee of the mortgage.

           39.     It took 126 calendar days and 96 days excluding weekends and holidays for

   Ocwen to deny the DIL application but gave the no specific reasons as to why the DIL was

   denied, which is in violation of 12 C.F.R. § 1024.41(d). The letter stated the following:

                   We carefully reviewed your file, and assessed your eligibility for a Deed-in-lieu
                   of Foreclosure (DIL) option.

                   Conclusions based on our analysis:
                   There is an issue with your mortgage title that prevents acceptance into this
                   program[.] The results require that we cancel your DIL application. We encourage
                   you to make an appointment with your Relationship Manager, Kishore Dilip
                   Panwar to discuss options.

                   See a copy of the letter attached hereto as Exhibit “D”.

           40.     Ocwen did not ask the Harnishs about the title issues nor did it give the Harnishs

   an opportunity to correct the title issues.

           41.     On August 11, 2016, HDLG spoke with Panwar. Panwar verbally advised that in

   May of 2016, the title came back with liens and that the file was closed in June. He went over



                                                   -7–
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 8 of 179



   the two liens that came up on the title search. The first was Notice of Pending Action on

   December 16, 2015 case number CJ-2015-04621. The second lien was a junior mortgage for

   $100,000.00.

          42.     The first lien was the foreclosure action that was still pending, where Ocwen was

   the servicer. The second lien was a lien was paid off prior to the foreclosure action. The release

   of lien was not recorded with the county.

          43.     On August 18, 2016, 7 days after finding out about the lien, the release of

   mortgage for the second lien was recorded under DOC#2017053697.

          44.     Ocwen did not identify any other mortgage title issues either verbally or in

   writing.

          45.     On August 31, 2016, the release of the mortgage lien was faxed to Ocwen. See a

   copy of the fax coversheet and the release attached hereto as Exhibit “E”.

          46.     On September 6, 2016, 6 days after the release was faxed over, HDLG called

   Panwar requesting a call back and confirmation of receipt of the release of mortgage.

          47.     On September 16, 2016, 16 days after the release was faxed over, HDLG once

   again called Panwar requesting a call back and confirmation of receipt of the release of

   mortgage.

          48.     On September 20, 2016, 20 days after the release was faxed over, HDLG sent the

   release of lien to Shairpo & Cejda, (“S&C”), counsel for BNYM in the foreclosure matter,

   because they were not getting a response from Ocwen. The law firm notified HDLG that

   underwriting was requesting that a whole new DIL package be submitted.




                                                  -8–
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 9 of 179



           49.    On October 7, 2016, a second complete DIL application package was emailed to

   S&C in the foreclosure and faxed directly to Ocwen. See copy of the fax coversheet attached

   hereto as Exhibit “F”.

           50.    On October 31, 2016, 15 days after the second DIL submission, HDLG followed

   up with Ocwen to find out the status of the DIL application, a message was left for a return call

   back.

           51.    Once again, Ocwen did not acknowledge receipt of the package in writing within

   5 days pursuant to 12 C.F.R. § 1024.41 (b)(i)(B).

           52.    On November 2, 2016, 17 days after the second DIL submission and still not

   having heard back from Ocwen, HDLG contacted S&C and at that time S&C stated that the

   RMA form was missing from the application. The RMA was sent to S&C via email that same

   day.

           53.    On November 21, 2016, 29 days after the second DIL submission, Ocwen

   requested a 4506-T form be submitted by the Harnishs. The 4506-T form was faxed to Ocwen on

   November 22, 2016. See a copy of the fax coversheet attached hereto as Exhibit “G”.

           54.    On November 22, 2016, 30 days after the second DIL submission, S&C notified

   HDLG via email that Ocwen was also requesting a letter of explanation for the $1,790.00 in

   income for Mrs. Harnish.

           55.    On November 28, 2016, 6 days after receiving the Ocwen’s request for the letter

   of explanation, HDLG sent the letter of explanation and the proof of funds by fax to Ocwen. See

   a copy of the fax coversheet attached hereto as Exhibit “H”.

           56.    On December 8, 2016, 41 days after the second DIL submission, HDLG received

   a letter from Ocwen requesting a Non-Borrower Authorization form from Mr. Harnish.




                                                 -9–
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 10 of 179



          57.      On December 13, 2016, 3 business days after receiving the request for Non-

   Borrower Authorization, HDLG faxed the Non-Borrower Authorization form to Ocwen and

   emailed it to S&C. See a copy of the fax coversheet attached hereto as Exhibit “I”.

          58.      On January 4, 2017, 58 days after the second DIL submission, HDLG received

   notice that Ocwen was in receipt of a complete package and the file has been moved to

   underwriting.

          59.      On January 10, 2017, 62 days after the second DIL submission Ocwen sent a

   letter denying the Harnishs for a loan modification, but conditionally approved for a Deed-in-

   Lieu of Foreclosure. Harnishs were instructed to call the relationship manager, Donavan S.

   Clarke to discuss the conditional approval. A copy of the letter is attached hereto as Exhibit “J”.

          60.      Ocwen was on notice that the second loss mitigation package was for a DIL and it

   was processed as a loan modification instead of a DIL, which wasted another 95 calendar days of

   the Harnishs.

          61.      On January 25, 2017, 15 days after the conditional approval, HDLG called Ocwen

   for an update on the status of the deed-in-lieu approval. A message was left requesting a return

   phone call.

          62.      On or around February 1, 2017, 22 days after the conditional approval, Ocwen

   moved forward on behalf of BNYM with a Motion for Summary Judgment in the foreclosure in

   direct violation of §1024.41(g) as the application for the conditional DIL was still pending. The

   foreclosure court entered a Final Judgment of Foreclosure. A copy of the order of the summary

   judgment is attached hereto as Exhibit “K”.



         63. 12 C.F.R. §1024.41(g) states as follows:




                                                  - 10 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 11 of 179



                  (g)     Prohibition on foreclosure sale. If a borrower submits a complete loss
                  mitigation application after the servicer has made the first notice or filing required
                  by applicable law for any judicial or non-judicial foreclosure process but more
                  than 37 days before a foreclosure sale, a servicer shall not move for foreclosure
                  judgment or order of sale, or conduct a foreclosure sale, unless:
                          (1)    The servicer has sent the borrower a notice pursuant to paragraph
                                 (c)(1)(ii) of this section that the borrower is not eligible for any
                                 loss mitigation option and the appeal process in paragraph (h) of
                                 this section is not applicable, the borrower has not requested an
                                 appeal within the applicable time period for requesting an appeal
                                 or if the borrower’s appeal has been denied;
                          (2)    The borrower rejects all loss mitigation options offered by the
                                 servicer; or
                          (3)    The borrower fails to perform under an agreement on a loss
                                 mitigation offer.
                  (Emphasis added)

          64.     At this time, there was no final judgment on the foreclosure action, therefore no

   sale date had been set.

          65.     On February 3, 2017, 24 days after the conditional approval, HDLG called Ocwen

   for an update on the status of the conditional approval for the DIL. A message was left

   requesting a return phone call.

          66.     On February 7, 2017, 27 days after the conditional approval, HDLG spoke with

   Mr. Clarke, he indicated that another DIL application would need to be completed, this contrary

   to the January 10, 2017 conditional approval and in violation of §1024.41(c)(1)(i)and (ii).

          67.     On March 2, 2017, the Court signed a Notice of Sheriff’s Sale. Neither BNYM

   nor Ocwen objected to the sale. The sale was set for April 18, 2017. See a copy of the Notice

   attached hereto as Exhibit “L”.

          68.     On March 7, 2017, the requested DIL application was faxed to Ocwen. See a

   copy of the fax coversheet attached hereto as Exhibit “M”.

          69.     On March 14, 2017, HDLG called Ocwen to find out the status of the DIL

   application. Victor, ID # 104410 from Ocwen stated that the denial letter was being processed



                                                  - 11 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 12 of 179



   because the sale date was set for April 18, 2017 and there was not enough time to process the

   DIL application. HDLG reminded Victor that the package was faxed to Ocwen on March 7,

   2017, more than 37 days before the sale date. Further, he verbally stated that there was a lien on

   the property for $100,000.00, which was the other reason for the denial.

          70.     On March 14, 2017, the recorded release of mortgage was faxed to Ocwen for the

   second time. See a copy of the fax coversheet attached hereto as Exhibit “N”.

          71.     On March 15, 2017, Ocwen sent a denial of the DIL. The basis for the denial was

   that “there is a confirmed Foreclosure Sale date scheduled on your mortgage within 60 days.”

   See copy of the letter attached hereto as Exhibit “O”.

          72.     On April 13, 2017, the Harnishs filed for Chapter 13 bankruptcy since Ocwen

   would not move to cancel sale, in direct violation of 12 C.F.R. §1024.41(g).

          73.     Subsequently, the April 18, 2017 foreclosure sale was cancelled.

          74.     On April 18, 2017, the third DIL application was submitted to Ocwen.

          75.     On April 20, 2017, HDLG called Ocwen to confirm receipt of the DIL

   application. Rosahnd ID#105641, stated that Ocwen did not receive the application and

   requested it be faxed to a different number. Later that same day the package was refaxed to the

   different number.

          76.     April 24, 2017, Ocwen sent another conditional approval for DIL and no further

   action was required from the Harnishs. See a copy of the letter attached hereto as Exhibit “P”.

          77.     On April 25, 2017, HDLG called Ocwen to determine the status of the file.

   Contrary to the letter dated April 24, 2017, Ocwen was requesting another letter of explanation

   as to the relationship between Patsy Harnish and John Harnish and another letter of authorization

   before it would assign a relationship manager to the file.




                                                  - 12 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 13 of 179



          78.        On April 25, 2017, the requested documents were sent to Ocwen.

          79.        Once again in violation of 12 C.F.R. § 1024.41(b)(2)(i)(B), Ocwen did not

   acknowledge receipt of the package in writing within 5 days.

          80.        May 8, 2017, HDLG stopped charging the Harnishs for the continuing

   representation.

          81.        On May 23, 2017, HDLG called Ocwen to speak with the assigned specialist,

   Lelani Rivera. Ms. Rivera stated that the lender conducted a title search and a junior lien is still

   outstanding. HDLG advised Ms. Rivera that the junior lien was released and recorded on August

   8, 2016, and was previously sent to Ocwen. Ms. Rivera requested that the lien be emailed to her

   attention and that once she receives it, she will forward it to underwriting.

          82.        On May 30, 2017, Ms. Rivera called HDLG to notify the Harnishs that the release

   of lien submitted was not the only junior lien on the property. This was the first time Ocwen

   clarified what junior lien was still outstanding. The information was also relayed verbally and

   not in writing. The lien that was outstanding was DC # 2006011362.

          83.        The purported lien was cleared up in 2008, the lender for the junior lien did not

   record the satisfaction of mortgage. Mr. Harnish contacted the junior lien holder and had them

   file a release of mortgage. The entire process took approximately eight (8) days from the time he

   was notified of the specific outstanding lien to the time the satisfaction was recorded.

          84.        If Ocwen had timely notified the Harnishs in writing from the first application for

   a DIL in 2016, specifically what junior liens were outstanding, the Harnishs would have

   requested the lender to record the release of liens and gotten the satisfactions recorded in less

   than eight days.




                                                    - 13 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 14 of 179



          85.     On June 13, 2017, HDLG forwarded the recorded release of mortgage. See a copy

   of the recorded release attached hereto as Exhibit “Q”.

          86.     On June 13, 2017, the recorded release of the mortgage was sent to Ocwen.

          87.     On July 18, 2017, Ocwen sent the Harnishs the pre-approval for the DIL. This is

   almost a year and a half after the first application for the DIL. See a copy of the pre-approval

   letter attached hereto as Exhibit “R”.

          88.     On September 16, 2017, 67 days excluding holidays and weekends after the

   recorded release of mortgage was sent over to Ocwen, the DIL was finalized. See a copy of the

   DIL attached hereto as Exhibit “S”.

          89.     Through no fault of the Harnishs, it took 578 calendar days to complete the DIL

   from the date of the first complete DIL package submission.

          90.     On October 31, 2017, BNYM filed a Dismissal without Prejudice. A copy of the

   dismissal is attached hereto as Exhibit “T”.

          91.     On October 31, 2017, the Court executed the Order vacating the judgment entered

   on February 22, 2017 and the note and mortgage reinstated. A copy of the Order is attached

   hereto as Exhibit “U”.

          92.     Because of the constant lack of communication and issues caused by Ocwen, the

   Harnishs were not able to obtain the HAFA DIL which offered up to $10,000 in relocation

   assistance, because the program ended on December 31, 2016. The Harnishs also had to incur

   attorney’s fees in order to maintain representation when the DIL could have been completed

   much sooner.

                                    Count I: Violation of 12 U.S.C. §2605(k)

    Violation of the Real Estate Settlement Procedures Act (“RESPA”), 12. U.S.C. §§ 2605(k),
                                      et. seq. and Regulation X



                                                  - 14 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 15 of 179




           93.     Plaintiffs hereby incorporate by reference the allegations of paragraphs 1 through

   85, inclusive, as if fully set forth herein.

           94.     Section 6, Subsection (k) of RESPA states in relevant part:

                   (k) Servicer prohibitions
                   (1) In general
                   A servicer of a federally related mortgage shall not—
                   …
                   (E) fail to comply with any other obligation found by the Bureau of Consumer
                   Financial Protection, by regulation, to be appropriate to carry out the consumer
                   protection purposes of this chapter.

   12 U.S.C. § 2605(k)(emphasis added).

           95.     Section 1024.41 (Loss Mitigation Procedures) of Regulation X was promulgated

   pursuant to Section 6 of RESPA and thus subject to RESPA’s private right of action. See 78 Fed.

   Reg. 10696, 10714, FN. 64 (Feb. 14, 2013)(“The [CFPB] notes that regulations established

   pursuant to section 6 of RESPA are subject to section 6(f) of RESPA, which provides borrowers

   a private right of action to enforce such regulations”).

           96.     The CFPB’s authority to prescribe such regulations under Section 2605(k)(1)(E),

   is stated in Section 2617 of RESPA: “The [CFPB] is authorized to prescribe such rules and

   regulations, to make such interpretations, and to grant such reasonable exemptions for classes of

   transactions, as may be necessary to achieve the purposes of this chapter.” 12 U.S.C. § 2617.

           97.     Defendant is a servicer within the meaning of the RESPA as implemented by

   Regulation X.

           98.     Pursuant to 12 C.F.R. § 1024.41(b)(2)(i)(B), Defendant was obligated notify the

   borrower in writing within 5 days (excluding legal public holidays, Saturdays, and Sundays)

   after receiving the loss mitigation application and that the servicer acknowledges receipt of the

   loss mitigation application and that the servicer has determined that the loss mitigation



                                                   - 15 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 16 of 179



   application is either complete or incomplete. If loss mitigation application is incomplete, the

   notice shall state the additional documents and information the borrower must submit to make

   the loss mitigation application complete and the applicable date pursuant to paragraph (b)(2)(ii)

   of this section. The notice to the borrower shall include a statement that the borrower should

   consider contacting servicers of any other mortgage loans secured by the same property to

   discuss available loss mitigation options.

          99.     Under the Official Interpretations of this section, CFPB states:

                  LATER DISCOVERY OF ADDITIONAL INFORMATION REQUIRED TO
                  EVALUATE APPLICATION
                  Even in a servicer has informed a borrower that an application is complete (or
                  notified the borrower of specific information necessary to complete an incomplete
                  application), if the servicer determines, in the course of evaluating the loss
                  mitigation application submitted by the borrower, that additional information or a
                  corrected version of a previously submitted document is required, the servicer
                  must promptly request the additional information or corrected document from the
                  borrower pursuant to the reasonable diligence obligation in §1024.41(b)(1). See
                  §1024.41(c)(2)(iv) addressing facially incomplete applications

          100.    126 days from the acknowledgement of a complete application to the denial of the

   DIL is not prompt. Further, Ocwen did not act with reasonable diligence when requesting

   additional documents to evaluate the DIL application. Ocwen should have notified the Plaintiff

   specifically that there were two junior liens and should have given the Plaintiff the opportunity to

   provide the satisfaction of both liens before denying the first DIL application.

          101.    Borrowers may enforce these regulations pursuant to section 2605(f), which

   allows an aggrieved plaintiff to recover two types of damages from a loan servicer for its

   violation of the Act – (A) any actual damages to the borrower as a result of the failure; and (B)

   any additional [statutory] damages, as the court may allow, in the case of a pattern or practice of

   noncompliance with the requirements of this section, in an amount not to exceed $2,000.” 12

   U.S.C. § 2605(f)(1).



                                                  - 16 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 17 of 179



           102.    As a direct and proximate result of Defendant’s failure to comply with Regulation

   X and RESPA, Plaintiffs have specifically suffered actual damages that include, but are not

   limited to, the attorney's fees and costs to continue the foreclosure representation while the

   modifications were pending, costs, including but not limited to court reporting costs, associated

   with the foreclosure trial in an amount to be proven at trial, the loss of the $10,000.00 relocation

   assistance under the HAFA program.

           103.    Specifically, the Harnishs were on a flat fee month to month with HDLG, for

   representation in the foreclosure action. Since Ocwen moved forward with the Motion for

   Summary Judgment of foreclosure on February 1, 2017, the Harnishs incurred the attorney’s fees

   for the foreclosure representation and the continuing months of representation to continue to

   apply for the DIL until May 8, 2017, which is when HDLG stopped billing the Harnishs.

           104.    Pursuant to 12 U.S.C. § 2605(f)(3), Plaintiffs are entitled to the actual damages

   and costs of this action, together with a reasonable attorney’s fee as determined by the court.

           105.    Plaintiffs have hired Consumer Law Attorneys, for legal representation in this

   case as a separate action from the foreclosure and has agreed to pay a reasonable attorney's fee.

           WHEREFORE, Plaintiffs pray that this Honorable Court enter judgment against

   Defendant, award Plaintiffs actual damages under this action, attorney’s fees and costs and any

   further relief this Court deems just and proper.

                                      Count II: Violation of 12 U.S.C. §2605(k)

    Violation of the Real Estate Settlement Procedures Act (“RESPA”), 12. U.S.C. §§ 2605(k),
                                      et. seq. and Regulation X

           106.    Plaintiffs hereby incorporate by reference the allegations of paragraphs 1 through

   85, inclusive, as if fully set forth herein.

          107.     Section 6, Subsection (k) of RESPA states in relevant part:



                                                   - 17 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 18 of 179



                    (k) Servicer prohibitions
                    (1) In general
                    A servicer of a federally related mortgage shall not—
                    …
                    (E) fail to comply with any other obligation found by the Bureau of Consumer
                    Financial Protection, by regulation, to be appropriate to carry out the consumer
                    protection purposes of this chapter.

   12 U.S.C. § 2605(k)(emphasis added).

          108.      Section 1024.41 (Loss Mitigation Procedures) of Regulation X was promulgated

   pursuant to Section 6 of RESPA and thus subject to RESPA’s private right of action. See 78 Fed.

   Reg. 10696, 10714, FN. 64 (Feb. 14, 2013)(“The [CFPB] notes that regulations established

   pursuant to section 6 of RESPA are subject to section 6(f) of RESPA, which provides borrowers

   a private right of action to enforce such regulations”).

          109.      The CFPB’s authority to prescribe such regulations under Section 2605(k)(1)(E),

   is stated in Section 2617 of RESPA: “The [CFPB] is authorized to prescribe such rules and

   regulations, to make such interpretations, and to grant such reasonable exemptions for classes of

   transactions, as may be necessary to achieve the purposes of this chapter.” 12 U.S.C. § 2617.

          110.      Defendant is a servicer within the meaning of the RESPA as implemented by

   Regulation X.

          111.      Pursuant to 12 C.F.R. § 1024.41(d), if the borrowers’ complete loss mitigation

   package is denied for any trial or permanent loan modification option available, the servicer shall

   state in the notice sent to the borrower the specific reason or reasons for the servicer’s

   determination.

          112.      The servicer violated 12 C.F.R. § 1024.41(d) by giving a vague reason for the

   denial, in the June 29, 2016 letter, Ocwen gave the bare minimum of details as to why the DIL

   was denied.     The letter (Exhibit “D”) stated the following:




                                                   - 18 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 19 of 179



                  We carefully reviewed your file, and assessed your eligibility for a Deed-in-lieu
                  of Foreclosure (DIL) option.

                  Conclusions based on our analysis:
                  There is an issue with your mortgage title that prevents acceptance into this
                  program[.] The results require that we cancel your DIL application. We encourage
                  you to make an appointment with your Relationship Manager, Kishore Dilip
                  Panwar to discuss options.


          113.    Had Ocwen pursuant to 12 C.F.R. § 1024.41(d) specifically identified the two

   junior liens in writing, the Harnishs could have had the lienholders record the satisfactions of

   both liens as both had been satisfied in 2008. The first recorded satisfaction took (7) seven day to

   get from the lien holder. Once identified, the second recorded satisfaction only took eight (8)

   days to be recorded. Therefore, had Ocwen specifically identified both liens as outstanding, the

   Plaintiffs could have satisfied the vague written reason for the denial of the first DIL application

   and qualified for the HAFA DIL.

          114.    Borrowers may enforce these regulations pursuant to section 2605(f), which

   allows an aggrieved plaintiff to recover two types of damages from a loan servicer for its

   violation of the Act – (A) any actual damages to the borrower as a result of the failure; and (B)

   any additional [statutory] damages, as the court may allow, in the case of a pattern or practice of

   noncompliance with the requirements of this section, in an amount not to exceed $2,000.” 12

   U.S.C. § 2605(f)(1).

          115.    As a direct and proximate result of Defendant’s failure to comply with Regulation

   X and RESPA, Plaintiffs have specifically suffered actual damages that include, but are not

   limited to, the attorney's fees and costs to continue the foreclosure representation while the

   modifications were pending, costs, including but not limited to court reporting costs, associated




                                                  - 19 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 20 of 179



   with the foreclosure trial in an amount to be proven at trial the loss of the $10,000.00 relocation

   assistance under the HAFA program.

           116.    Specifically, the Harnishs were on a flat fee month to month with HDLG, for

   representation in the foreclosure action. Since Ocwen moved forward with the Motion for

   Summary Judgment of foreclosure on February 1, 2017, the Harnishs incurred the attorney’s fees

   for the foreclosure representation and the continuing months of representation to continue to

   apply for the DIL.

           117.    Pursuant to 12 U.S.C. § 2605(f)(3), Plaintiffs are entitled to the actual damages

   and costs of this action, together with a reasonable attorney’s fee as determined by the court.

           118.    Plaintiffs have hired Consumer Law Attorneys, for legal representation in this

   case as a separate action from the foreclosure and has agreed to pay a reasonable attorney's fee.

           WHEREFORE, Plaintiffs pray that this Honorable Court enter judgment against

   Defendant, award Plaintiffs actual damages under this action, attorney’s fees and costs and any

   further relief this Court deems just and proper.

                                     Count III: Violation of 12 U.S.C. §2605(k)

    Violation of the Real Estate Settlement Procedures Act (“RESPA”), 12. U.S.C. §§ 2605(k),
                                      et. seq. and Regulation X

           119.    Plaintiff hereby incorporates by reference the allegations of paragraphs 1 through

   85, inclusive, as if fully set forth herein.

          120.     Section 6, Subsection (k) of RESPA states in relevant part:

                   (k) Servicer prohibitions
                   (1) In general
                   A servicer of a federally related mortgage shall not—
                   …
                   (E) fail to comply with any other obligation found by the Bureau of Consumer
                   Financial Protection, by regulation, to be appropriate to carry out the consumer
                   protection purposes of this chapter.



                                                  - 20 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 21 of 179




   12 U.S.C. § 2605(k)(emphasis added).

          121.     Section 1024.41 (Loss Mitigation Procedures) of Regulation X was promulgated

   pursuant to Section 6 of RESPA and thus subject to RESPA’s private right of action. See 78 Fed.

   Reg. 10696, 10714, FN. 64 (Feb. 14, 2013)(“The [CFPB] notes that regulations established

   pursuant to section 6 of RESPA are subject to section 6(f) of RESPA, which provides borrowers

   a private right of action to enforce such regulations”).

          122.     The CFPB’s authority to prescribe such regulations under Section 2605(k)(1)(E),

   is stated in Section 2617 of RESPA: “The [CFPB] is authorized to prescribe such rules and

   regulations, to make such interpretations, and to grant such reasonable exemptions for classes of

   transactions, as may be necessary to achieve the purposes of this chapter.” 12 U.S.C. § 2617.

          123.     Defendant is a servicer within the meaning of the RESPA as implemented by

   Regulation X.

          124.     Pursuant to 12 C.F.R. § 1024.41(c)(2)(iv), if the borrower submits all the missing

   documents and information as stated in the notice required pursuant to § 1026.41(b)(2)(i)(B), or

   no additional information is requested in such notice, the application shall be considered facially

   complete. If the servicer later discovers additional information or corrections to a previously

   submitted document are required to complete the application, the servicer must promptly request

   the missing information or corrected documents and treat the application as complete for the

   purposes of paragraphs (f)(2) and (g) of this section until the borrower is given a reasonable

   opportunity to complete the application. If the borrower completes the application within this

   period, the application shall be considered complete as of the date it was facially complete, for

   the purposes of paragraphs (d), (e), (f)(2), (g), and (h) of this section, and as of the date the

   application was actually complete for the purposes of paragraph (c). A servicer that complies



                                                   - 21 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 22 of 179



   with this paragraph will be deemed to have fulfilled its obligation to provide an accurate notice

   under paragraph (b)(2)(i)(B)

          125.    Ocwen failed to treat the first loss mitigation/DIL as an incomplete package as it

   did the third DIL application as required by 1024.41(c)(2)(iv). Ocwen allowed Harnish to

   supplement the third application with proof of the satisfaction of the second junior lien. The

   final application that resulted with final approval for the DIL.

          126.    If Ocwen had given the Harnishs a reasonable opportunity to supplement the

   facially complete application with the proof of the satisfaction of both junior mortgage liens, the

   DIL approval could have been completed in August of 2016 instead of late July of 2017.

          127.    Both title issues could have been fixed within days if the Harnishs were given the

   opportunity in a timely matter. When the Harnishs found out about the first recorded satisfaction,

   it took (7) seven day to get the lien holder to fix the issue. For the second recorded satisfaction,

   once it was specifically identified, it took (8) eight days to get the lien issue resolved. The time

   it took to get the satisfaction of both liens was days. If Ocwen properly identified the issues and

   informed the Harnishs specifically the reasons for the DIL denial as required by 12 C.F.R. §

   1024.41(d), the Harnishs would have qualified for the HAFA DIL and incurred a substantially

   lowered amount of attorney’s fees paid to HDLG.

          128.    Borrowers may enforce these regulations pursuant to section 2605(f), which

   allows an aggrieved plaintiff to recover two types of damages from a loan servicer for its

   violation of the Act – (A) any actual damages to the borrower as a result of the failure; and (B)

   any additional [statutory] damages, as the court may allow, in the case of a pattern or practice of

   noncompliance with the requirements of this section, in an amount not to exceed $2,000.” 12

   U.S.C. § 2605(f)(1).




                                                   - 22 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 23 of 179



           129.    As a direct and proximate result of Defendant’s failure to comply with Regulation

   X and RESPA, Plaintiffs have specifically suffered actual damages that include, but are not

   limited to, the attorney's fees and costs to continue the foreclosure representation while the

   modifications were pending, costs, including but not limited to court reporting costs, associated

   with the foreclosure trial in an amount to be proven at trial the loss of the $10,000.00 relocation

   assistance under the HAFA program.

           130.    Specifically, the Harnishs were on a flat fee month to month with HDLG, for

   representation in the foreclosure action until May 8, 2017. Since Ocwen moved forward with the

   Motion for Summary Judgment of foreclosure on February 1, 2017, the Harnishs incurred the

   attorney’s fees for the foreclosure representation and the continuing months of representation to

   continue to apply for the DIL.

           131.    Pursuant to 12 U.S.C. § 2605(f)(3), Plaintiffs are entitled to the actual damages

   and costs of this action, together with a reasonable attorney’s fee as determined by the court.

           132.    Plaintiffs have hired Consumer Law Attorneys, for legal representation in this

   case as a separate action from the foreclosure and has agreed to pay a reasonable attorney's fee.

           WHEREFORE, Plaintiffs pray that this Honorable Court enter judgment against

   Defendant, award Plaintiffs actual damages under this action, attorney’s fees and costs and any

   further relief this Court deems just and proper.

                                     Count IV: Violation of 12 U.S.C. §2605(k)

    Violation of the Real Estate Settlement Procedures Act (“RESPA”), 12. U.S.C. §§ 2605(k),
                                      et. seq. and Regulation X

           133.    Plaintiffs hereby incorporate by reference the allegations of paragraphs 1 through

   85, inclusive, as if fully set forth herein.

          134.     Section 6, Subsection (k) of RESPA states in relevant part:



                                                  - 23 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 24 of 179



                   (k) Servicer prohibitions
                   (1) In general
                   A servicer of a federally related mortgage shall not—
                   …
                   (E) fail to comply with any other obligation found by the Bureau of Consumer
                   Financial Protection, by regulation, to be appropriate to carry out the consumer
                   protection purposes of this chapter.

   12 U.S.C. § 2605(k)(emphasis added).

          135.     Section 1024.41 (Loss Mitigation Procedures) of Regulation X was promulgated

   pursuant to Section 6 of RESPA and thus subject to RESPA’s private right of action. See 78 Fed.

   Reg. 10696, 10714, FN. 64 (Feb. 14, 2013)(“The [CFPB] notes that regulations established

   pursuant to section 6 of RESPA are subject to section 6(f) of RESPA, which provides borrowers

   a private right of action to enforce such regulations”).

          136.     The CFPB’s authority to prescribe such regulations under Section 2605(k)(1)(E),

   is stated in Section 2617 of RESPA: “The [CFPB] is authorized to prescribe such rules and

   regulations, to make such interpretations, and to grant such reasonable exemptions for classes of

   transactions, as may be necessary to achieve the purposes of this chapter.” 12 U.S.C. § 2617.

          137.     Defendant is a servicer within the meaning of the RESPA as implemented by

   Regulation X.

          138.     Pursuant to 12 C.F.R. § 1024.41(g), upon receipt of a Loss Mitigation Application

   and the foreclosure sale was not set, Defendant was obligated to not move for a foreclosure

   judgment. Defendant willingly and knowingly made the decision to seek a foreclosure judgment

   despite 12 C.F.R. § 1024.41(g).

          139.     Borrowers may enforce these regulations pursuant to section 2605(f), which

   allows an aggrieved plaintiff to recover two types of damages from a loan servicer for its

   violation of the Act – (A) any actual damages to the borrower as a result of the failure; and (B)




                                                   - 24 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 25 of 179



   any additional [statutory] damages, as the court may allow, in the case of a pattern or practice of

   noncompliance with the requirements of this section, in an amount not to exceed $2,000.” 12

   U.S.C. § 2605(f)(1).

          140.    As a direct and proximate result of Defendant’s failure to comply with Regulation

   X and RESPA, Plaintiffs have specifically suffered actual damages that include, but are not

   limited to, the attorney's fees and costs to continue the foreclosure representation while the

   modifications were pending, costs, including but not limited to court reporting costs, associated

   with the foreclosure trial in an amount to be proven at trial, the loss of the $10,000.00 relocation

   assistance under the HAFA program.

          141.    Specifically, the Harnishs were on a flat fee month to month with HDLG, for

   representation in the foreclosure action. Since Ocwen moved forward with the Motion for

   Summary Judgment of foreclosure on February 1, 2017, the Harnishs incurred the attorney’s fees

   for the foreclosure representation and the continuing months of representation to continue to

   apply for the DIL.

          142.    Pursuant to 12 U.S.C. § 2605(f)(3), Plaintiffs are entitled to the actual damages

   and costs of this action, together with a reasonable attorney’s fee as determined by the court.

          143.    Plaintiffs have hired Consumer Law Attorneys, for legal representation in this

   case as a separate action from the foreclosure and has agreed to pay a reasonable attorney's fee.

          WHEREFORE, Plaintiffs pray that this Honorable Court enter judgment against

   Defendant, award Plaintiffs actual damages under this action, attorney’s fees and costs and any

   further relief this Court deems just and proper.

                                    DEMAND FOR JURY TRIAL

          Plaintiff hereby demands a jury trial.




                                                   - 25 –
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 26 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 27 of 179




                        Exhibit
                         “A”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 28 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 29 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 30 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 31 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 32 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 33 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 34 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 35 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 36 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 37 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 38 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 39 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 40 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 41 of 179




                        Exhibit
                         “B”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 42 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 43 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 44 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 45 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 46 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 47 of 179




                        Exhibit
                         “C”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 48 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 49 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 50 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 51 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 52 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 53 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 54 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 55 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 56 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 57 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 58 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 59 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 60 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 61 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 62 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 63 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 64 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 65 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 66 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 67 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 68 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 69 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 70 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 71 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 72 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 73 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 74 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 75 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 76 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 77 of 179




                        Exhibit
                         “D”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 78 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 79 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 80 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 81 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 82 of 179




                        Exhibit
                         “E”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 83 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 84 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 85 of 179




                        Exhibit
                         “F”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 86 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 87 of 179




                        Exhibit
                         “G”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 88 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 89 of 179




                        Exhibit
                         “H”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 90 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 91 of 179




                        Exhibit
                         “I”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 92 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 93 of 179




                        Exhibit
                         “J”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 94 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 95 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 96 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 97 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 98 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 99 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 100 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 101 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 102 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 103 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 104 of 179




                        Exhibit
                         “K”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 105 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 106 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 107 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 108 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 109 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 110 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 111 of 179




                        Exhibit
                         “L”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 112 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 113 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 114 of 179




                        Exhibit
                         “M”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 115 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 116 of 179




                        Exhibit
                         “N”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 117 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 118 of 179




                        Exhibit
                         “O”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 119 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 120 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 121 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 122 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 123 of 179




                        Exhibit
                         “P”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 124 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 125 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 126 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 127 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 128 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 129 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 130 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 131 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 132 of 179




                        Exhibit
                         “Q”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 133 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 134 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 135 of 179




                        Exhibit
                         “R”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 136 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 137 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 138 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 139 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 140 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 141 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 142 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 143 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 144 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 145 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 146 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 147 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 148 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 149 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 150 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 151 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 152 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 153 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 154 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 155 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 156 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 157 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 158 of 179




                        Exhibit
                         “S”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 159 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 160 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 161 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 162 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 163 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 164 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 165 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 166 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 167 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 168 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 169 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 170 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 171 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 172 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 173 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 174 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 175 of 179




                        Exhibit
                         “T”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 176 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 177 of 179




                        Exhibit
                         “U”
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 178 of 179
Case 9:17-cv-81330-DMM Document 1 Entered on FLSD Docket 12/08/2017 Page 179 of 179
